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                                         C-2700-21-I
                             CAUSE NO. ______________

MICHAEL M. MCKISSACK,                    §       IN THE DISTRICT COURT
     Plaintiff,                          §
                                         §
VS.                                      §       _____ JUDICIAL DISTRICT
                                         §
HOME DEPOT U.S.A., INC.,                 §
    Defendant.                           §       HIDALGO COUNTY, TEXAS


                          PLAINTIFF’S ORIGINAL PETITION


TO THE HONORABLE COURT:

       COMES NOW, MICHAEL M. MCKISSACK, hereinafter referred to as “Plaintiff”,

complaining of HOME DEPOT U.S.A., INC., hereinafter referred to as “Defendant”, and

files this his Original Petition, and for cause of action respectfully show the Court as

follows:

                             I. DISCOVERY CONTRAL PLAN

       Plaintiff intends to conduct discovery under Level Three (3) pursuant to Rule 190,

   Texas Rules of Civil Procedure.

                                      II. PARTIES

       Plaintiff, MICHAEL M. MCKISSACK, is an individual who resides in Hidalgo

County, Texas.

       Defendant, HOME DEPOT U.S.A., INC., is a domestic corporation formed in

Delaware and authorized to do business in the State of Texas and may be served with

process by serving its Registered Agent, Corporation Service Company D/B/A CSC-

LAWYERS INCO, at 211 E. 7th Street, Suite 620, Austin, Texas 78701, by registered

mail, return receipt requested.



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                                          Exhibit B-2
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                              III. JURISDICTION & VENUE

       This court has jurisdiction over the claims alleged because the amount in

controversy exceeds this court’s minimum jurisdictional requirements.

       Venue is proper in Hidalgo County, Texas, under Civil Practice & Remedies

Code section 15.002(a)(1), because all or a substantial part of the acts or omissions

giving rise to the claim occurred in Hidalgo County, Texas.

                                        IV. FACTS

       Plaintiff was a business invitee at the Home Depot located at 1500 W. Exp. 83,

Weslaco, Hidalgo County, Texas. At all times material to this action, Defendant owned,

operated and/or managed this premises and building where the incident in question

occurred and is responsible for the maintenance and repairs on the premises.

       On or about July 10, 2021, Plaintiff was doing maintenance and repairs on the

HVAC system at the said location when a roof latch became unhinged and violently

struck down on Plaintiff. At all times relevant, Plaintiff exercised ordinary care and did

not cause or contribute to his injuries. The hinges on the roof hatch were not properly

maintained by Defendant.      Due to the negligent actions or inactions of Defendant,

Plaintiff suffered significant personal injuries as described below.

                                             V.

                                  CUASES OF ACTION

                       1. VICARIOUS LIABILITY/AGENCY/SCOPE

       Whenever it is alleged in this Petition that any officer, employee, agent,

supervisor or other person employed or contracted with Defendant committed or failed

to commit any act, it is alleged that those acts were the acts of Defendant pursuant to



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the doctrines of respondent superior, agency, vicarious liability and vice-principal

liability. In all circumstances, the acts or omissions complained of were committed or

omitted in the course and scope of the actor’s employment with Defendant.

                                      2. NEGLIGENCE

       At all times material to this action, Home Depot U.S.A., INC., had actual or

construction knowledge of the hinges on the roof latch on its premises. Said condition

posed an unreasonable risk of harm to business invitees, including Plaintiff. Defendant

failed to exercise ordinary care to reduce or eliminate the risk of harm to business

invitees, including Plaintiff, and Defendant’s failure to use such care proximately caused

Plaintiff’s injuries and damages as set our more fully below.

       Defendant owed duties to Plaintiff, including but not limited to the duty to exercise

advisory care, duty to ensure safe area and a duty to provide reasonably safe premises.

                                      VI. DAMAGES

       As a result of the negligence of the Defendant, Plaintiff has sustained, and in

reasonable probability, will sustain in the future the following damages that exceed the

minimum jurisdictional limits of the court:

       a.     Pain and suffering in the past and that in reasonable probability will be
              sustained in the future;

       b.     Mental anguish in the past and that in reasonable probability will be
              sustained in the future;

       c.     Reasonable and necessary medical expenses in the past and that in
              reasonable probability will be sustained in the future;

       d.     Lost wages in the past and that in reasonable probability will be sustained
              in the future;

       e.     Loss of wage and earning capacity in the past and that in reasonable
              probability will be sustained in the future;


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       f.     Loss of enjoyment of life in the past and that in reasonable probability will
              be sustained in the future; and

       g.     Disfigurement.

       Plaintiff seeks monetary relief over $1,000.000.00, including any penalties, court

costs, expenses, prejudgment interest and attorneys fees.          However, Plaintiff will

reserve the right to file a trial amendment or an amended pleading on this issue should

subsequent evidence show this figure to be adjusted.

                           VII. REQUESTS FOR DISCLOSURE

       Plaintiff demands a trial by jury in connection with the claims against Defendant

and will tender a jury fee as allowed by law.

                           VIII. REQUESTS FOR DISCLOSURE

       Pursuant to Rule 194, Defendant is requested to disclose, within 50 days of

service of this request, the information or material described in Rule 194.2 of the Texas

Rule of Civil Procedure.

                                      IX. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff MICHAEL M. MCKISSACK

prays that Defendant be cited to appear and answer, and that on final trial of this case,

the Court grant:

       a.     judgment against Defendant for an amount compensating Plaintiff for his
              actual damages and injuries;

       b.     exemplary damages, as determined by the jury;

       c.     prejudgment interest as allowed by law;

       d.     interest on said judgment at the legal rate from date of judgment;

       e.     costs of suit herein; and


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 f.    such other and further relief to which Plaintiff may be justly entitled.

                                           Respectfully Submitted,

                                           LAW OFFICE OF DENNIS RAMIREZ
                                           111 N. 17th St., Suite D
                                           Donna, Texas 78537
                                           Tel: (956) 461-2890
                                           Fax: (956) 287-3245
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                                           /s/ Dennis Ramirez
                                           DENNIS RAMIREZ
                                           State Bar No. 24037327
                                           ATTORNEY FOR PLAINTIFF




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